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     Exhibit 3
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     Exhibit 4
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     Exhibit 7
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     Exhibit 8
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               Exhibit 12
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                                                                                                                                                 Transfer Student Profile and
                                                                                                                                                      Admission Information
                                                                                                                                                                 2018 - 2019
Fall 2018 Entering Transfer Class
New undergraduate transfer students                             1,448                                                                                               Fall                         Fall                        Fall
                                                                                                                                                                   Enrolls                      Admits                    Applicants
From California Community Colleges                               49%
                                                                                                                                                                     1,448                       2,338                           9,673
From UC or CSU                                                    9%
From California Independent Institutions                          7%                                                                                               62% yield                 24% admit rate
From U.S. Colleges Outside California                            31%
From Colleges Outside U.S.                                        3%                     Mean transferable college GPA                                                 3.70                         3.74                          3.46

From preferred European Institutions                               7%                    Mean transferable semester units                                               45                            46                            46

Average age on first day of USC classes                             21                   From 2-year institution                                                       53%                           55%                          58%
                                                                                         From 4-year institution                                                       47%                           45%                          41%
Scions (legacy students)                                         30%
First generation college goers                                   28%                     From public institution                                                       74%                           75%                          79%
                                                                                         From private institution                                                      26%                           25%                          21%
U.S. Military Veteran                                               22
U.S. Military Active Service                                         2                   From colleges in California                                                   66%                           64%                          63%
U.S. Military Reservist / National Guard                             4                   From colleges outside CA, but in U.S.                                         31%                           34%                          34%
U.S. Military Dependent                                             10                   From colleges outside of the U.S.                                             3%                            2%                            3%

Gender                                                                                   Different colleges represented                                                 330                          458                         1,294
Female                                                           51%
Male                                                             49%

Race/Ethnicity                                                                      Cost and Financial Aid                                                               2019 Transfer Application Process
African American                                                  4%                                                                                                     USC accepts the Common Application exclusively.
                                                                                    USC practices need-blind admission. A student’s
Latino / Hispanic                                                19%                ability to pay has no bearing on his or her admission.
Native American / Pacific Islander                               <1%                                                                                                     Required Application Materials
Asian / Asian American                                           21%                USC has a long tradition of fully meeting the USC-                                   •    Completed Common Application form
Caucasian                                                        38%                determined need of undergraduates through a                                          •    Official transcripts from all colleges attended
Multi-ethnic                                                      5%                combination of need-based grants, Federal Work-                                      •    Official high school transcripts
International (student visa holders)                             11%                Study and loans.                                                                     •    Essay and responses to short answer topics
Ethnicity not reported                                            2%
                                                                                    Over 60% of the incoming class received some form                                    Optional Application Materials
Most Represented Sending Institutions                                               of financial assistance.                                                             • Supplemental materials and/or auditions,
Santa Monica College, CA                                          146                                                                                                      depending upon major
Pasadena City College, CA                                          70               Although international students are not eligible to                                  • TOEFL, IELTS or PTE-Academic results
The American University of Paris, France                           51               receive federal or USC need-based financial aid,                                       required of international applicants whose native
El Camino College, CA                                              41               they may be awarded merit scholarships and/or                                          language is not English
Moorpark College, CA                                               38               other departmental awards. Financial assistance is                                   • SAT or ACT results, if fewer than 30
Glendale Community College, CA                                     26               available for undocumented students who meet                                           transferable semester units have been completed
L.A. Pierce College, CA                                            26               certain criteria; AB 540 students may be eligible to
College of the Canyons, CA                                         24               receive a Cal Grant.
Irvine Valley College, CA                                          22                                                                                                               Important Dates and Deadlines
Mount San Antonio College, CA                                      22               Info Used to Determine Financial Aid Eligibility                                     1
                                                                                    • CSS Profile                                                                            December 1, 2018
Academic Distribution                                                               • FAFSA                                                                                       Application deadline for Cinematic Arts,
Dornsife College of Letters, Arts and Sciences 38%                                  • Other specific information may be required,                                                 Dance, Dramatic Arts, Iovine and Young
Marshall School of Business                    22%                                    depending upon family’s situation                                                           Academy, and Music applicants
Viterbi School of Engineering                  10%                                                                                                                           February 1, 2019
USC’s Arts Schools                              9%                                  2018-19 Undergraduate Annual Cost of Attendance                                               Application deadline for all other majors
   (Architecture, Cinematic Arts, Kaufman School                                                                                                                             February 13, 2019
                                                                                    Tuition and fees                         $56,225
   of Dance, Dramatic Arts, Roski School of Art                                                                                                                                   FAFSA and CSS Profile due by this date for
                                                                                    Room and board                           $15,395
   and Design, Thornton School of Music)                                                                                                                                          priority financial aid consideration
                                                                                    Miscellaneous expenses and transportation $2,005
Annenberg School for Comm. & Journalism 8%                                                                                                                                   March 2, 2019
                                                                                    Books and supplies                        $1,200
Undeclared                                      5%                                                                                                                                Deadline for Cal Grant application (CA
                                                                                    Annual Total                             $74,825                                              residents only)
Price School of Public Policy                   3%
Ostrow School of Dentistry (Dental Hygiene) 2%                                                                                                                               May 31, 2019
Keck School of Medicine (Health Studies)        1%                                                                                                                                Transfer applicants receive a final decision,
Davis School of Gerontology                    <1%                                                                                                                                or a request for spring 2019 grades, by this
                                                                                                                                                                                  date
                                                                                                                                                                             August 21, 2019
Pre-Professional Emphases                                                                                                                                                         New student move-in day
Pre-Accounting                                                     7%                                                                                                        August 26, 2019
Pre-Law                                                            9%                                                                                                             First day of fall 2019 classes
Pre-Medicine                                                       8%
Pre-Health (Dentistry, Pharmacy, PT, etc.)                         4%
Pre-Teaching                                                       2%



    University of Southern California, Office of Admission ∙ 700 Childs Way, Los Angeles, California 90089-0911
Web and E-Mail: admission.usc.edu ∙ Facebook: AdmitUSC ∙ Twitter, Snapchat: @USCAdmission ∙ Telephone: (213) 740-1111
   USC admits students of any race, color, national origin, ancestry, religion, gender identity, sexual orientation, age, physical disability or mental disability. USC’s full non-discrimination policy can be found online at policies.usc.edu.
